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                       February 5, 2015

VIA ECF

Hon. Laura Taylor Swain
United States Courthouse
Southern District of New York
500 Pearl Street
New York, New York 10007-1312

       In re: Dov Malnik, eta/. v. Muddy Waters, LL( eta!. (15 CV 00754) (LTS)

Dear Judge Swain:

       We represent Defendants Muddy Waters, LLC ("Muddy Waters"}, and Carson
Block ("Block") in the above-referenced action and write jointly with Plaintiffs Dov
Malnik and Tomer Feingold pursuant to Section A(1)(f) of Your Honor's Individual
Practices to report that the parties successfully negotiated a global resolution in
principle of the above-referenced action and related disputes involving the parties and
several non-parties. The contemplated settlement also will encompass and dispose of
Plaintiffs' disputes with defendant Joshua Steinberg who has not yet been served. (Prior
to Muddy Waters' and Block's filing of the Notice of Removal dated February 2, 2015,
the Supreme Court of the State of New York (Oing, J.) granted Plaintiffs' ex parte order
dated January 28, 2015, which extended Plaintiffs' deadline to effectuate service of
process on Joshua Steinberg for an additional 60 days). The parties are currently in the
process of memorializing a formal stipulation of settlement, following which they
anticipate filing a stipulation of dismissal.
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Malnik, eta/. v. Muddy Waters, eta/.                                     Direct: 310.734.0407
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      Given the foregoing, we respectfully request that Muddy Waters' and Block's
deadline for filing a responsive pleading or motion to dismiss be adjourned until March
9, 2015 to allow for the completion of the settlement agreement and filing of the
stipulation of dismissal. Muddy Waters' and Block's current deadline to file a responsive
pleading is February 9, 2015. This is the first request for an adjournment.

                                                       Respectfully submitted,

                                                       /s/ Scott M. Lesowitz
                                                       Scott M. Lesowitz (SL-2112)
                                                       Attorneys for Defendants Muddy
                                                       Waters, LLC and Carson Block

                                                       /s/ Daniel J. Brown

                                                       Daniel J. Brown (DB-7458)
                                                       Attorneys for the Plaintiffs




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                                                      SO ORDERED:
